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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

   BOROUGH OF EDGEWATER,                     Case Nos.: 2:14-CV-05060-JMV-JBC
                                                        2:14-cv-08129-MCA-LDW
         Plaintiff,                          Hon. John M. Vazquez, U.S.D.J.
                                             Hon. James B. Clark, III, U.S.M.J.
         v.

   WATERSIDE CONSTRUCTION,
   LLC; 38 COAH, LLC; DAIBES
   BROTHERS, INC.; NORTH RIVER
   MEWS ASSOCIATES, LLC; FRED A.
   DAIBES; TERMS
   ENVIRONMENTAL SERVICES,
   INC.; ALCOA INC. (formerly known as
   “Aluminum Company of America”);
   ALCOA DOMESTIC LLC, as
   successor in interest to A.P. NEW
   JERSEY, INC.; et al.,

         Defendants,

   (caption continued on next page)

    ________________________________________________________________

                 ARCONIC DEFENDANTS’ REPLY BRIEF
     IN FURTHER SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                  AGAINST THE DAIBES DEFENDANTS
    ________________________________________________________________

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   WATERSIDE CONSTRUCTION,
   LLC; 38 COAH, LLC; DAIBES
   BROTHERS, INC.; NORTH RIVER
   MEWS ASSOCIATES, LLC; and
   FRED A. DAIBES,
         Defendants/Third-Party Plaintiffs,

         v.

   NEGLIA ENGINEERING
   ASSOCIATES,
         Third-Party Defendant,
   and

   ALCOA DOMESTIC, LLC, as
   successor in interest to A.P. NEW
   JERSEY, INC.,

         Defendant/Third-Party Plaintiff,
         v.

   COUNTY OF BERGEN and RIVER
   ROAD IMPROVEMENT PHASE II,
   INC., and HUDSON SPA, LLC,

         Third-Party Defendants.
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                           PRELIMINARY STATEMENT
        In an effort to avoid the sweeping release and indemnity provisions of the

  1997 Purchase and Sale Agreement (“PSA”) and 1991 Environmental Indemnity

  Agreement (“EIA”), North River and RRIP argue, without any evidence, that

  Arconic deliberately concealed and misrepresented material information in

  connection with the sale of the Former Alcoa Site. As a result of this alleged fraud

  and/or fraud in the inducement, North River and RRIP now argue the contracts are

  void. But North River and RRIP are not seeking the remedy of rescission, which

  defeats their arguments right out of the gate.

        As for the substance of their claims of fraudulent concealment/

  misrepresentation/inducement, North River and RRIP point to nothing in the record

  suggesting any intentional concealment or misrepresentation necessary to support a

  fraud, or fraud in the inducement, defense to Arconic’s claims.

        North River and RRIP also argue that now, over 20 years after signing the

  PSA and 1997 Multi-Party Property Acquisition Agreement (“MPAA”), the

  indemnification provisions in those contracts are voidable based on a “mutual

  mistake” among the parties over the existence of underground storage tanks under

  Building 12. However, both parties were sophisticated business entities well aware

  that the Site was heavily contaminated, yet North River knowingly accepted the risk




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  of any unknown contamination and potential future liability arising from any

  condition at the Site by signing the PSA and EIA.

        The Daibes Defendants 1 failed to oppose Arconic’s argument that their

  CERCLA § 107 claim fails because they did not incur any response costs at Veterans

  Field, much less costs consistent with the National Contingency Plan. Accordingly,

  Arconic is entitled to summary judgment regarding that claim.

        Finally, North River and RRIP claim that Arconic breached the MPAA and

  PSA, thus releasing them from any obligation under those agreements. North River

  and RRIP fail to explain how Arconic, in 2013, breached any requirement of the

  MPAA fourteen years after it was extinguished by the parties’ execution of the EIA.

  North River’s claims that Arconic breached Section 7(c) of the PSA by failing to

  disclose the presence of underground storage tanks beneath Building 12 is contrary

  to the undisputed facts that the parties agreed Arconic made no representations or

  warranties regarding the environmental condition of the site.




        1
          Several of the defendants are related companies that are owned and/or
  controlled by Fred A. Daibes. These Defendants collectively referred to as the
  “Daibes Defendants,” include Waterside Construction, LLC; North River Mews
  Associates, LLC; 38 COAH, LLC; Daibes Brothers, Inc.; and Fred A. Daibes. Third-
  Party Defendant River Road Improvement Phase II, Inc. is also owned and/or
  controlled by Fred A Daibes. The CERCLA § 107 claim against Arconic was
  brought on behalf of all of the Daibes Defendants.
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        North River and RRIP should be held liable to Arconic under the theories of

  indemnification and breach of contract, and the Daibes Defendants’ claim against

  Arconic should be dismissed.

                                    ARGUMENT

  I.    The Daibes Defendants’ improper responses to Arconic’s Statement of
        Undisputed Material Facts requires the Court to accept as undisputed
        Arconic’s Statement of Facts in its Motion for Summary Judgment.
        The Daibes Defendants’ opposition to Arconic’s Motion for Summary

  Judgment (ECF No. 382 (“Daibes Defendants Br.”)) relies on their Response to

  Arconic’s Statement of Undisputed Material Facts (ECF No. 328-1) (the

  “Responsive SUMF”). Arconic adopts for purposes of this Reply its Motion to

  Strike the Daibes Defendants’ Responsive SUMF. For the reasons stated therein,

  the Court should accept as undisputed all facts in Arconic’s Statement of Undisputed

  Facts because the Daibes Defendants’ Responsive SUMF fails entirely to comply

  with Local Rule 56.1 and the Court’s directives to the parties regarding their Rule

  56.1 Statements.

  II.   The Release and Indemnity provisions in the Purchase and Sale
        Agreement and the Environmental Indemnity Agreement bar the claims
        of North River and RRIP.
        North River and RRIP do not argue that the release and indemnity provisions

  contained in the PSA or the indemnity provision in the EIA are anything less than

  clear and unambiguous. Instead, they argue, without any evidence, that those


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  provisions are void because Arconic fraudulently concealed material information in

  connection with the sale of the Former Alcoa Site. They also argue that the

  indemnification provisions in both agreements are unenforceable because of a

  mutual mistake. Both of these arguments are without merit and fail as a matter of

  law.

         a.    North River and RRIP have presented no genuine evidence of
               fraudulent concealment of material information by Arconic.
         A claim of fraudulent concealment, whether as an affirmative claim or as a

  defense to a breach of contract, requires a plaintiff to establish five elements: “(1) a

  material misrepresentation of a presently existing or past fact; (2) knowledge or

  belief by the defendant of its falsity; (3) an intention that the other person rely on it;

  (4) reasonable reliance thereon by the other person; and (5) resulting damages.”

  Argabright v. Rheem Mfg. Co., 201 F. Supp. 3d 578, 602 (D.N.J. 2016). As

  summarized by New Jersey Courts, in the absence of any deliberate conduct, there

  can be no material misrepresentation necessary to support a fraudulent concealment

  claim. See Winslow v. Corporate Express, Inc., 364 N.J. Super. 128, 139 (App. Div.

  2003) (the suppression of a material fact that should be disclosed must be deliberate

  to support a common law fraud action).

         North River and RRIP contend that Arconic “knew of a material adverse

  condition of the property” that it “intentionally failed” to disclose; that is, Arconic

  deliberately failed to produce and concealed from them the existence of the two

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   underground storage tanks under Building 12. (Daibes Defendants Br., at 14). Aside

   from being untrue, North River and RRIP point to no evidence of any deliberate

   conduct by Arconic. Indeed, none exists. The record establishes just the opposite.

         Under the 1997 MPAA, the entire site was to be razed and all hazardous

   materials remediated, funded by Arconic. (Arconic’s Statement of Undisputed

   Material Facts (“SUMF”) ¶ 24; Certification of Dana B. Parker, dated Sept. 11, 2020

   (ECF No. 359) (“Parker Cert.”) 11, Ex. 10). If North River had gone ahead with

   demolishing Building 12 along with the other buildings, which was its express intent

   at the time of the sale, the USTs under Building 12 would have been discovered and

   their removal and remediation would have been paid for by Arconic as part of the

   overall cost of the demolition and removal.       Therefore, for Arconic to have

   intentionally concealed evidence of the USTs or intentionally failed to produce

   evidence of them prior to the sale, Arconic would have had to be prescient enough

   to know before the sale that North River would insist on not demolishing Building

   12 after the sale and that they would be willing to give up all rights and indemnify

   Arconic for any environmental conditions at the Building 12 site. This scenario, of

   course, is nonsense. More importantly, neither North River nor RRIP have offered

   any evidence that it occurred—or, indeed, any evidence of Arconic’s supposedly

   fraudulent intent.




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         It is also undisputed that North River agreed in the PSA that Arconic was

   making no representations or warranties regarding the conditions at the site,

   including the presence of hazardous substances. (See ECF No. 345 (“Arconic Br.”)

   at 29). North River also agreed that it was not relying upon any representations or

   warranties by Arconic. (SUMF ¶ 9; Parker Cert. ¶ 5, Ex. 4). North River and RRIP

   further agreed to take the site “AS IS, WITH ALL FAULTS.” (Arconic Br. at 29)

   (all caps in original). Finally, North River agreed that the known environmental

   condition of the site, which North River and RRIP now seek to disown, would be

   composed of (1) information obtained from the environmental reports appended to

   the PSA, and (2) North River’s own due diligence. (Arconic Br. at 29).

         There is also undisputed evidence that Arconic sent North River historic

   building information before the sale that included technical drawings of underground

   storage tanks under Building 12.             That undisputed evidence includes

   contemporaneous notes by Arconic’s Vice President of Environmental Health &

   Safety and Chief Sustainability Officer, Kevin McKnight, reflecting North River’s

   request for, and Arconic’s mailing of, all plant drawings. (See ECF No. 361 (“Opp.

   SUMF”) ¶ 46, Parker Cert. ¶ 8, Ex. 7; Certification of Malory M. Pascarella, dated

   September 11, 2020, ECF No. 361 (“Pascarella Cert.”), ¶ 14, Ex. 13). It also includes

   a cover letter from Arconic dated before the sale enclosing voluminous historic plant

   records and drawings to North River. (Opp. SUMF ¶ 46, Parker Cert., ¶ 10, Ex. 9).


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   Other than claiming that they never received the records and drawings, North River

   and RRIP offer nothing to refute this evidence.

         Moreover, whether North River actually received the documents is irrelevant

   because the undisputed evidence is that Arconic intended to send them and believed

   it had. This evidence conclusively rebuts North River’s and RRIP’s unsupported

   assertions of fraudulent intent by Arconic.

         It is also important to keep in mind that Fred Daibes, acting on behalf of North

   River, was and is a sophisticated real estate developer, who had the right and duty

   to conduct his own due diligence of a site he knew was contaminated. Indeed, this

   Court has already recognized as much:

         You have a sophisticated party, you have the right to do your own due
         diligence, you have the right to conduct your own testing. You know,
         it's a contaminated site. I mean it's referenced right in the document.
         So to say these two underground storage tanks were the deal breaker
         because we knew we were buying a PCB contaminated site, because
         these sophisticated parties, who had the right to do due diligence, you
         know, you make it sound like you represent babes in the woods. But it
         can't be any clearer in the documents. Everybody knows you're getting
         a hazardous waste site.

   (See Certification of Reymond E. Yammine, dated December 7, 2020, Ex. 1, at

   76:22-77:7). North River/Mr. Daibes went forward with the purchase after either

   receiving the plant records and drawings, requesting but not receiving the

   documents, or not requesting them at all.




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          North River’s actions speak louder than the words in its Brief. North River

   and RRIP knew they were getting a contaminated site and they still purchased the

   property AS IS, waiving all rights to pursue Arconic for any known or unknown

   environmental condition on the Property. Accordingly, North River cannot prove

   the reliance elements of its fraud claims.

          b.     There was no mutual mistake.
          An agreement is voidable under the doctrine of mutual mistake only when

   both parties make a mistake “as to a basic assumption” of the agreement.

   Restatement (Second) of Contracts § 152 (1981). The appropriate remedy for a

   mutual mistake of fact is rescission. Fisher Dev. Co. v. Boise Cascade Corp., 37

   F.3d 104, 111-12 (3d Cir. 1994); Pathfinder L.L.C. v. Luck, No. CIV.A. 04-1475,

   2005 WL 1206848, at *6 (D.N.J. May 20, 2005). The party seeking rescission must

   prove, at a minimum, that both parties “are under substantially the same erroneous

   belief as to the facts.” Id.

          North River and RRIP cannot pursue a theory of “mutual mistake” because

   the remedy they seek is not rescission.

          Substantively, North River and RRIP do not cite to any evidence establishing

   that both parties were under the same erroneous belief as to any facts. The terms of

   the PSA (with attached environmental reports) and MPAA plainly identify the site




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   as contaminated, and all parties understood the possibility that as-yet uncovered

   additional contamination existed.

         For this reason, North River and RRIP’s reliance on Fisher Development is

   entirely misplaced. In that case, the Third Circuit affirmed the lower court’s finding

   that the defendant had failed to establish the existence of a mutual mistake. Fisher

   Dev. Co., 37 F.3d at 112. The parties had presented no evidence to show that they

   “entered their settlement agreement and exchanged their general releases based on

   an affirmative understanding that there were no environmental problems on the

   premises.” Id. On the contrary, the record showed the opposite. Id. “The parties

   exchanged general, rather than limited, releases because they understood that all

   facts concerning the leasehold and their prior relationship were not necessarily

   known and that currently unknown facts could later give rise to liabilities.” Id.

   Where the “possibility of problems on the premises was a basic assumption of the

   parties,” there can be no mutual mistake. Id.

         That is the precise situation here. North River and RRIP agreed in the PSA

   and EIA to give Arconic a broad release from all claims related to hazardous

   substances in clear recognition of the “possibility of problems” at the Site. (SUMF




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   ¶¶ 20, 37; Parker Cert. ¶ 5, Ex. 4, Sect. 7; Parker Cert. ¶ 18, Ex. 17).2 The mere fact

   that North River now claims that it was unaware of a specific environmental

   condition is immaterial. Id. at 110 n.1.

          North River and RRIP’s mutual mistake theory fails as a matter of law and

   undisputed fact.

   III.   The Daibes Defendants cannot recover against Arconic under CERCLA
          because they incurred no response costs at Veterans Field and because
          Arconic is not liable under CERCLA.
          The Daibes Defendants failed to oppose Arconic’s argument that their

   CERCLA § 107 claim fails because they did not incur any response costs at Veterans

   Field, much less costs consistent with the National Contingency Plan.

          In order to recover response costs under CERCLA § 107, a party must prove,

   at a minimum, that it incurred responses costs. CERCLA § 107(a)(4)(B), 42 U.S.C.

   § 9607(a)(4)(B); United States v. Atl. Research Corp., 551 U.S. 128, 139 (2007).

   The party must also prove that any remedial actions they conducted were consistent

   with the National Contingency Plan. Fireman’s Fund Insurance Co. v. City of Lodi,

   302 F.3d 928, 950 (9th Cir. 2002); County Line Inv. Co. v. Tinney, 933 F.2d 1508,

   1512 (10th Cir. 1991) (citations omitted); United States v. Northeastern




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            To the extent the Court finds the MPAA applicable to the 2013 demolition
   of Building 12, the MPAA contains similar broad releases. (SUMF ¶ 24; Parker
   Cert., ¶ 11, Ex. 10, ¶ 16).

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   Pharmaceutical & Chemical Co., 810 F.2d 726, 747 (8th Cir. 1986), cert. denied,

   484 U.S. 848 (1987).

         As shown in detail in Arconic’s moving brief, the record is devoid of any

   evidence satisfying either requirement. (See Arconic Daibes Br. at 20-26). It is

   simply undisputed that the Daibes Defendants did not conduct any response actions

   regarding the contamination at Veterans Field.

         Arconic is also not liable under CERCLA § 107 for the remediation of

   Veterans Field because it was not an arranger as argued by the Daibes Defendants.

   (See ECF No. 373, Arconic’s opposition to the Borough’s Motion for Summary

   Judgment at 4-20). The Daibes Defendants’ claim for contribution under CERCLA

   § 113(f) must be dismissed.

   IV.   Arconic did not breach either the Multi-Party Agreement or the
         Purchase and Sale Agreement.
         North River and RRIP argue that Arconic breached the MPAA by not paying

   for the removal of hazardous substances found at the site in 2013.        (Daibes

   Defendants Br. at 17). But by this time, the MPAA was long extinguished by

   operation of the EIA, which was signed by North River and RRIP in 1999. The

   MPAA required that Building 12 be demolished along with all other buildings at the

   site. The parties entered into the EIA so that North River and RRIP could keep

   Building 12 standing and put it to use. (Arconic Br. at 31). In exchange, North

   River and RRIP agreed to have sole physical and legal responsibility for Building

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   12 going forward; a critical component of the parties’ agreement. (Arconic Br. at

   31; SUMF ¶¶ 38-39; Parker Cert. ¶ 18, Ex. 17). Under the terms of the EIA, any

   obligation under the MPAA that could have required Arconic to pay for the removal

   of hazardous substances at the Building 12 site was extinguished by the EIA. North

   River and RRIP offer no explanation for how Arconic could be subject to the

   requirements of the MPAA fourteen years after it was extinguished. (SUMF ¶ 36;

   Parker Cert. ¶ 3, Ex. 2).

         North River and RRIP also argue that Arconic breached Section 7(c) of the

   Purchase and Sale Agreement, regarding the site’s “known environmental

   conditions,” by “failing to disclose of [sic] a known and material defect present” at

   the Alcoa site. (Daibes Defendants Br. at 17). Section 7(c), however, only defined

   the agreed-upon known environmental conditions at the Site at the time of sale.

   (Arconic Br. at 6). There is nothing in the PSA suggesting that the “known

   environmental condition” of the site constituted 100% of all environmental

   contamination at the site. Quite the opposite. The PSA stated in all capital letters

   that Arconic was making no representations or warranties regarding the

   environmental condition of the site above or below the surface of the ground. Id. In

   fact, the parties further acknowledged the very existence of unknown environmental

   conditions by entering into a series of risk-shifting clauses that delimited each

   parties’ responsibilities. (SUMF ¶ 20; Parker Cert. ¶ 5, Ex. 4).


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         Even if the MPAA was not extinguished by the EIA, there is no evidence that

   North River or RRIP complied with the written notice of breach provisions of the

   PSA, which expressly incorporates the MPAA by reference. Section 8(a) of the PSA

   provides: “If Seller fails to perform any of its obligations under this Agreement or

   the Multi Party Agreement, the same shall constitute a default of this Agreement and

   thereupon Buyer, at its option, may declare forfeiture by written notice to Seller

   (“Notice of Seller’s Default).” (SUMF ¶ 20; Parker Cert. ¶ 5, Ex. 4, §8(a)). Under

   Section 12 of the PSA all such notices must be “in writing” and personally served

   “or sent by certified or registered mail, postage prepaid, return receipt requested.”

   (Id., §12). That notice triggers a 45 day cure period. Id. No such notice was

   provided by North River or RRIP, which would have provided Arconic with the

   opportunity to cure any alleged breach.

   V.    Arconic did not fraudulently induce North River or RRIP to enter into
         the PSA, the MPAA, or any other contract.
         North River and RRIP argue that Arconic may not assert rights under either

   the PSA or the MPAA because Alcoa fraudulently induced North River to enter into

   these contracts. (Daibes Defendants Br. at 12-15, 18-20). This argument fails for

   two reasons previously discussed: First, there is no evidence that Arconic

   deliberately concealed or misrepresented anything in connection with the sale of the

   Site; and second, North River and RRIP do not seek rescission under the PSA or the

   MPAA, which would be their only available remedy. See, e.g., Mercer Cty.

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   Childrens Med. Daycare, LLC v. O'Dowd, No. CV 13-1436, 2015 WL 5822291, at

   *4 (D.N.J. Oct. 1, 2015) (“[T]he remedy for fraudulent inducement into a contract

   is that the contract is voidable at the election of the defrauded party.”).

                                      CONCLUSION
         For the foregoing reasons and for the reasons set forth in Arconic’s moving

   papers, Arconic respectfully requests that this Court (i) grant summary judgment in

   Arconic’s favor on its Counterclaims against North River and RRIP and (ii) dismiss

   all claims by the Daibes Defendants against Arconic.


   Dated:       December 7, 2020
                                                   Respectfully submitted,

                                                   K&L GATES LLP

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                                                      Jersey, Inc.)




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